Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Page1 of 14

Fill in this information to identify the case:

Debtor Name Chee Wel Fong

United States Bankrupicy Count for the: District of Cotorado

. . C2 Check if this is an
Case number. 20-16813JGR-CH11 amended filing

 

 

Official Form 425C

 

Monthly Operating Report for Small Business Under Chapter 11 427

Month: SEP 2021 Date report filed: 10/tA/49Pb21
MM/DO/YYYY

Line of business: NAISC code:

 

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury
that | have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

 

 

Responsible party: CHEE WE] FONG Zz
Original signature of responsible party Gag fpr.
Printed name of responsible party “SHER! Fows

 

= 41. Questionnaire

Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

 

Yes No NIA

if you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.
1. Did the business operate during the entire reporting period? Q Q w
2. Do you plan to continue to operate the business next month? a OQ a
3. Have you paid all of your bills on time? - Q QO
4. Did you pay your employees on time? O QO wi
5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts? ) QO QO
6. Have you timely filed your tax returns and paid all of your taxes? F] QO Q
7. Have you timely filed all other required government filings? P| O O
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator? i Q QO
9. Have you timely paid all of your insurance premiums? a QO QO

If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
10. Do you have any bank accounts open other than the DIP accounts? a O QO
11. Have you sold any assets other than inventory? Q Wd Q
12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? QO) wi O
13. Did any insurance company cancel your policy? O wi oO
14. Did you have any unusual or significant unanticipated expenses? QO w Oo
15. Have you borrowed money from anyone or has anyone made any payments on your behalf? Q a Q
16, Has anyone made an investment in your business? Q wi QO

Official Form 4256 Monthly Operating Report for Small Business Under Chapter 11 page 4
Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Page2 of 14

Debtor Name Chee Wei Fong Case number 20-1 681 3JGR-CH1 1

 

 

17. Have you paid any bills you owed before you filed bankruptcy? C) wi a

18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy? O P| Q)

| 2 Summary of Cash Activity for All Accounts

19. Total opening balance of all accounts 925 293.25
This amount must equal what you reported as the cash on hand at the end of the month in the previous $_<o.cers
month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

20. Total cash receipts
Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. $__ 7,286.91

21. Total cash disbursements
Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. Include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf. Do not attach bank statements
in lieu of Exhibit D. “§ 14,31 5.20
Report the total from Exhibit D here.

22. Net cash flow 7,028.29
Subtract line 21 from line 20 and report the result here. + $=
This amount may be different from what you may have calculated as net profit.

23. Cash on hand at the end of the month

Add line 22 + line 19. Report the result here.
Report this figure as the cash on hand at the beginning of the month on your next operating report.

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

= 5 18,194.96

 

ae :. Unpaid Bills

24.

 

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

Total payables $ 15,254.50
Interim Fees billed by counsel and unpaid to dafe, subject fo court approval

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 2
Debtor Name Chee Wei Fong

i | 4, Money Owed to You

25

Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Page3 of 14

Case number 20-16813JGR-CH11

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from

 

 

Exhibit F here.
. Total receivables $ 0.00
(Exhibit F)
P| 5, Employees
0

26. What was the number of employees when the case was filed?

27. What is the number of employees as of the date of this monthly report?

a: Professional Fees

28. How much have you paid this month in professional fees related to this bankruptcy case?

29.

30

31.

im 7. Projections

32.
33.

34.

35.

37.

 

. How much have you paid this month in other professional fees?

How much have you paid in total other professional fees since filing the case?

How much have you paid in professional fees related to this bankruptcy case since the case was filed?

$___ 9,979.00
$71,478.38
$
$

3,000.00

 

Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.

Cash receipts

Cash disbursements

Net cash flow

Cofumn A
Projected

Copy lines 38-37 from

Column Bo
“Actual 8

 

 

 

Copy lines 20-22 of :

 

Column C2

 

Difference Boe ee

Subtract Column Bo

 

 

 

 

 

 

 

 

Totai projected cash receipts for the next month:

"the previous month's | - ‘this:report. os from Column A. :
Teport 2° es cd eae ean ME
¢_ 6,881.00 — ¢_ 7,286.91 = ¢___-405.91
¢ 5,824.00 — ¢ 14,315.20 = ¢__-8,491.20
¢__ 1,057.00 |  -7,028.29 | =} 5,971.29
}
$6,881.00
= § 5,824.00

Total projected cash disbursements for the next month:

Total projected net cash flow for the next month:

=3 1,057.00

 

Official

Form 425C

Monthly Operating Report for Small Business Under Chapter 11 page 3
Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Page4 of 14

 

Debtor Name Chee Wei Fong Case number 20-16813JGR-CH11

mm 8. Additional Information

If available, check the box to the left and attach copies of the following documents.

J 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).
(} 39. Bank reconciliation reports for each account.

(] 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

L) 41. Budget, projection, or forecast reports.
C)

42. Project, job costing, or work-in-progress reports.

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 4
Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Paged of 14

Report: 2021 Last Month Income Transaction by Month
Last Month: 9/1/2021 - 9/30/2021

Date | Payee
9/3/21 COLLABERA
9/14/21 Front Range Gun Payroll
9/17/21 COLLABERA
9/28/21 Front Range Gun Payroll

9/30/21 Interest Payment : Wells Fargo Bank Interest Income
TOTAL

Exhibit C
Chee Wei Fong

Category Amount
Income - Collabera

Income - GunSmoke

income - Collabera

Income - GunSmoke

Deposit

3,415.21
381.28
3,108.97
381.26
0.19
7,286.91
Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Page6é of 14

Report: Account Transaction
Last Month: 9/1/2021 - 9/30/2021

Date

Account
9/1/21 WF DIP Checking x6748
9/1/21 WF DIP Checking x6748
9/1/21 WF DIP Checking x6748
9/1/21 WF DIP Checking x6748
9/2/21 WF DIP Checking x6748
9/3/21 WF DIP Checking x6748
9/7/21 WF DIP Checking x6748
9/7/21 WF DIP Checking x6748
9/7/21 WF DIP Checking x6748
9/7/21 WF DIP Checking x6748
9/7/21 WF DIP Checking x6748
9/7/21 WF DIP Checking x6748
9/7/21 WF DIP Checking x6748
9/7/21 WF DIP Checking x6748
9/7/21 WF DIP Checking x6748
9/8/21 WF DIP Checking x6748
9/8/21 WF DIP Checking x6748
9/8/21 WF DIP Checking x6748
9/9/21 WF DIP Checking x6748
9/10/21 WF DIP Checking x6748
9/13/21 WF DIP Checking x6748
9/13/21 WF DIP Checking x6748
9/13/21 WF DIP Checking x6748
9/13/21 WF DIP Checking x6748
9/13/21 WF DIP Checking x6748
9/13/21 WF DIP Checking x6748
9/14/21 WF DIP Checking x6748

Payee

King Soopers
King Soopers
Raising Cane's
Subaru

Adt Security
Quicken Loans
Petrojohnson Co
Saigon Xpress
Plant Therapy
Wal-mart
American Family Insurance
King Soopers
Five Guys

King Soopers
King Soopers
Lake Front Hoa
Sam's Club
Premier Members Credit Union
Big Daddy
Murphy Express
King Soopers
Amazon

King Soopers
Lucile's
Wal-mart
Chick-fil-a
Mcgraff

Exhibit D
Chee Wei Fong

Category

Personal Care

Food and House Keeping
Food and House Keeping
Auto Service and Repair
Home Security

Home Mortgage

Auto Fuel

Food and House Keeping
Personal Care

Food and House Keeping
Auto Insurance

Food and House Keeping
Food and House Keeping
Food and House Keeping
Auto Fuel

Home HOA Dues

Food and House Keeping
Home HELOC

Food and House Keeping
Auto Fuel

Personal Care
Entertainment

Food and House Keeping
Food and House Keeping
Food and House Keeping
Food and House Keeping
Food and House Keeping

Amount
-5.93
-5.95
-14.37
-69.77
-67.43
-1,786.45
-40.83
-31.52
-46.59
-20.04
-135.66
-15.76
-21.69
-37.55
-47.45
-295
-21.4
-750
-4,34
-38.23
-20.54
-24.86
-10.36
-26.08
-14.68
-6.29
-26.98
Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Page? of 14

TOTAL

9/15/21 WE DIP Checking x6748
9/15/21 WF DIP Checking x6748
9/16/21 WF DIP Checking x6748
9/17/21 WF DIP Checking x6748
9/20/21 WF DIP Checking x6748
9/20/21 WF DIP Checking x6748
9/20/21 WF DIP Checking x6748
9/20/21 WF DIP Checking x6748
9/20/21 WF DIP Checking x6748
9/21/21 WF DIP Checking x6748
9/22/21 WF DIP Checking x6748
9/22/21 WF DIP Checking x6748
9/22/21 WF DIP Checking x6748
9/23/21 WF DIP Checking x6748
9/24/21 WF DIP Checking x6748
9/24/21 WF DIP Checking x6748
9/24/21 WE DIP Checking x6748
9/24/21 WF DIP Checking x6748
9/24/21 WF DIP Checking x6748
9/27/21 WF DIP Checking x6748
9/27/21 WF DIP Checking x6748
9/27/21 WF DIP Checking x6748
9/28/21 WF DIP Checking x6748
9/29/21 WF DIP Checking x6748
9/30/21 WF DIP Checking x6748
9/30/21 WF DIP Checking x6748

Raising Cane's
Wal-mart
Xcel Energy
King Soopers
Comcast

King Soopers
King Soopers
Wal-mart
Chick-fil-a
Costco

CHECK

CHECK

At&t

U.s. Lawshield
King Soopers
King Soopers
Amazon

Hca Local Hospital
Einstein Bros
Chick-fil-a
King Soopers
Wal-mart
Mcgraff
Raising Cane's
King Soopers
Bimbo Bakeries

Food and House Keeping
Food and House Keeping
Home Electricity and Gas
Food and House Keeping
Home Telecommunication
Food and House Keeping
Auto Fuel

Food and House Keeping
Food and House Keeping
Food and House Keeping
Legal - Attorney Fees
Legal - Attorney Fees
Home Telecommunication
Legal - US Law Shield
Food and House Keeping
Food and House Keeping
Entertainment
Medical/Eyes/Dental Expenses
Food and House Keeping
Food and House Keeping
Auto Fuel

Food and House Keeping
Food and House Keeping
Food and House Keeping
Food and House Keeping
Food and House Keeping

-14.37
-25.28
-45.36
-11.49
-92.14
-44.05
-46.1
-16.83
-11.38
-53.74
-5,865.20
-4,114.00
-62.53
-13.9
-34.8
-23.65
-27.62
-35

-18.4
-15.4
-38.93
-32.75
-30.37
-14.37
-40.76
-1.03
-14,315.20
Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Pages of 14

 

 

 

 

 

 

 

 

 

age lof 1
Longmont - Main St
2142 N. Main Street
303-657-7000
(MINI-STATEMENT)
CHEE WEI FONG
3751 W 136TH AVE. ACCOUNT: XXXXXXX353 PERIOD: 09/01/21 TO 10/01/21
BROOMFIELD CO 80020
PRIMARY SHARE SAVINGS ID:0001
EFFECT POST TRANSACTION DESCRIPTION — AMOUNT NEW BALANCE
09/01/21 ID 0001 - Primary Share Savings Balance Forward 5.01
10/01/23 Ending Balance 5.01
VO HELOC (5/14) 1D:0060
NEW
EFFECT POST TRANSACTION DESCRIPTION AMOUNT BALANCE
09/01/21 1D 0060 - I/O Heloc (5/14) Balance Forward 96,295.16
PAYMENT - THANK YOU ACH PREMIER MEMBERS CO:
09/09/21 09/09/21 peemTER MEMBERS 750.00 95,852.26
Finance Charge: $307.10 Fees: $0.00
10/01/21 Ending Balance 95,852.26
file:///C:/ProgramData/Jack™%20Henry%20and%20Associates/Episys%20For%20 Window... 10/1/2021
Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Page9 of 14

Wells Fargo’ Preferred Checking

September 30,2021 m Page 1 of6

CHEE WE] FONG

DEBTOR IN POSSESSION
CH11 CASE #20-16813 (CO)
3751 W 136TH AVE UNIT S2
BROOMFIELD CO 80023-8149

 

 

Questions?

Available by phone 24 hours a day, 7 days a week:
We accept all relay cails, including 711

1-800-TO-WELLS (1-800-869-3557)
En espafiol: 1-877-727-2932

Online: wellsfargo.com

Write: Wells Fargo Bank, N.A. (163)
P.O. Box 6995
Portland, OR 97228-6995

 

You and Wells Fargo

Thank you for being a loyal Wells Fargo customer. We value your trust in our
company and look forward to continuing to serve you with your financial needs.

Account options

A check mark in the box indicates you have these
convenient services with your account(s). Go to
wellsfargo.com or call the number above if you have
questions or if you would like to add new services.

Online Banking Direct Deposit
Online Bill Pay [_] Auto Transfer/Payment [_]
Online Statements Overdraft Protection  [__]
Mobile Banking C] Debit Card

My Spending Report Overdraft Service

IMPORTANT ACCOUNT INFORMATION

Revised USPS service standards effective 10/1/21

Effective October 1, 2021, the United States Postal Service (USPS) has revised its service standards for certain First-Class Mail items,
resulting in a delivery window of up to five days. Please note this may delay your receipt of mail from us and our receipt of mail from

you. Please take this change into account when mailing items to us via USPS.

Consider signing into Wells Fargo Online’ for quicker access to your account information.

 

Other Wells Fargo Benefits

Help take control of your finances with a Wells Fargo Personal Loan.

Whether it's managing debt, making a large purchase, improving your home, or paying for unexpected expenses, a personal loan may
be able to help. See personalized rates and payments in minutes with no impact to your credit score, before you apply.

(163)
Case:20-16813-JGR Doc#:228 Filed:10/25/21 Entered:10/25/21 13:07:58 Page10 of 14

September 30,2021 m Page 2 of 6

 

 

Go to wellsfargo.com/personalloan or call 1-855-324-9370, Monday through Friday, from 8:00 a.m. to 7:00 p.m. Central Time.

 

Statement period activity summary

 

Beginning balance on 9/1 $24,200.11
Deposits/Additions 7,286.91
Withdrawals/Subtractions - 14,315.20
Ending balance on 9/30 $17,171.82

Overdraft Protection

Account numbe”
CHEE WEI FONG

93748

DEBTOR IN POSSESSION
CH11 CASE #20-16813 (CO)

Colorado account terms and conditions apply

For Direct Deposit use

Routing Number (RTN): 102000076

This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.

 

Interest summary

Interest paid this statement $0.19
Average collected balance $22,811.90
Annual percentage yield earned 0.01%
Interest earned this statement period $0.19
Interest paid this year $1.89

 

Transaction history

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Gheck Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subiractions balance
9/1 Purchase authorized on 08/30 Flatirons Subaru Boulder CO 69.77
$38 1242583996930 Card 3990
9/1 Purchase authorized on 08/30 Raising Cane's #35 Broomfield CO 14.37
$461243037601106 Card 3990
9/1 Purchase authorized on 09/01 King Soopers #01 2355 W. 5.95
Broomfield CO P00581244452534777 Card 3990
9/1 Purchase authorized on 09/01 King Soopers #01 2355 W. 5.93 24,104.09
Broomfield CO P00301244452926105 Card 3990
9/2 ADT Security Ser Adtpapach xxxxx0151 Fong, Chee Wei 67.43 24,036.66
9/3 Collabera Inc Direct Dep 210903 942217696153Xel Fong, Chee 3,415.21
Wei
9/3 Bill Pay Quicken Loans Recurring xxxxx37134 on 09-03 1,786.45 25,665.42
9f7 Purchase authorized on 09/02 Saigon Xpress Longmont CO 31.52
$461245826897072 Card 3990
9/7 Purchase authorized on 09/04 Petrojohnson CO Johnstown CO 40.83
P00000000672054670 Card 3990
9/7 Purchase authorized on 09/05 Wal-Mart Super Center Loveland 20.04
CO P00000000933987115 Card 3990
9/7 Purchase authorized on 09/05 Plant Therapy 208-735-2413 ID 46.59
$461248531051575 Card 3990
9/7 Purchase authorized on 09/05 Five Guys CO1591 Q Broomfield 21.69
CO $581248841812438 Card 3990
O17 Purchase authorized on 09/06 King Soop 1891 State H Erie CO 15.76
P00000000739531860 Card 3990
9/7 Purchase authorized on 09/07 King Soopers #07 2395 W. 47.45
Broomfield CO P00381250800328048 Card 3990
9/7 Purchase authorized on 09/07 King Soop 2355 W. 136T 37.55
Broomfield CO P00000000572418103 Card 3990
9/7 American Family Aft 210906 B00000212491Deo Chee W Fong 135.66 25,268.33

 
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September 30, 2021

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Transaction history (continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily

Date Number Description Additions Subtractions balance

9/8 Bill Pay Premier Members Credit Union Recurring 750.00
X2000000%X%36353 on 09-08

9/8 Purchase authorized on 09/08 Samsclub #8147 Loveland CO 21.40
P00000000679734417 Card 3990

9/8 Lake Front Hoa Dues 210907 xxxxx0320 Chee Wei Fong 295.00 24,201.93

9/9 Purchase authorized on 09/08 Sq *Big Daddy Bage Lafayette CO 4.34 24,197.59
$581251435976394 Card 3990

9/10 Purchase authorized on 09/10 Murphy Express Longmont CO 38.23 24,159.36
P00000000470292003 Card 3990

9/13 Purchase authorized on 09/10 Lucile's Creole CA Longmont CO 26.08
$581253608664628 Card 3990

9/13 Purchase authorized on 09/11 Chick-Fil-A #03634 Westminster 6.29
CO $581255064986936 Card 3990

9/13 Purchase authorized on 09/12 Wal-Mart Super Center Loveland 14.68
CO P00000000472374428 Card 3990

9/13 Purchase authorized on 09/12 Amzn Mktp US*253Kq 24.86

. Amzn.Com/Bill WA $381255583557714 Card 3990

9/13 Purchase authorized on 09/13 King Soop 2355 W. 136T 20.54
Broomfield CO P00000000173615942 Card 3990

9/13 Purchase authorized on 09/13 King Soopers #01 2355 W. 10.36 24,056.55
Broomfield CO P0058125661 1502220 Card 3990

9/14 Front Range Gun Payroll 210914 P6376521 Chee Wei Fong 381.28

9/14 Purchase authorized on 09/12 Tst* McGraff S Loveland CO 26.98 24,410.85
$381255849305002 Card 3990

9/15 Purchase authorized on 08/13 Raising Cane's #35 Broomfield CO 14.37
$301256837063062 Card 3990

9/15 Purchase authorized on 09/15 WM Supere Wal-Mart Sup 25.28 24,371.20
Loveland CO P00000000487778508 Card 3990

9/16 Xcel Energy-PSCO Xcelenergy 00087262622 Well Fargo Personal 45.36 24,325.84

9/17 Collabera Inc Direct Dep 210917 930720914882Xel Fong,Chee 3,108.97
Wei

9/17 Purchase authorized on 09/17 King Soopers #00 253 E. 2 11.49 27,423.32
Loveland CO P00581260578427276 Card 3990

9/20 Purchase authorized on 09/18 King Soopers #07 2395 W. 46.10
Broomfield CO P00381261444778568 Card 3990

9/20 Purchase authorized on 09/18 Chick-Fil-A #03634 Westminster 11.38
CO $461262060990409 Card 3990

9/20 Purchase authorized on 09/19 WM Supere Wal-Mart Sup 16.83
Loveland CO P00000000239431484 Card 3990

9/20 Purchase authorized on 09/19 King Soop 1891 State H Erie CO 44.05
P00000000687341265 Card 3990

9/20 Comcast 8497101 xxxxx4202 210918 6677516 Chea Wei *Fong 92.14 27,212.82

9/21 Purchase authorized on 09/21 Costco Whse #1178 Timnath CO 53.74 27,159.08
P00301264783755514 Card 3990

9/22 ATT Payment 092021 363500013Epayo Chee Wei Fong 62.53

9/22 111 Check 4,114.00

9/22 112 Check 5,865.20 17,117.35

9/23 Recurring Payment authorized on 09/22 U.S. Lawshield 13.90 17,103.45
WWW.Uslawshie TX $301265548270787 Card 3990

9/24 Purchase authorized on 09/23 Amzn Mktp US*2C72G 27.62
Amzn.Com/Bill WA $301266317740525 Card 3990

9/24 Purchase authorized on 09/23 Einstein Bros Bage Englewood CO 18.40
$301266447287988 Card 3990

9/24 Purchase authorized on 09/23 Hca Local Hospital 615-344-2404 35.00
TN $581266492545105 Card 3990

9/24 Purchase authorized on 09/24 King Soop 253 E. 29th Loveland 23.65
CO P00000000439630652 Card 3990

9/24 Purchase authorized on 09/24 King Soop 1891 State H Erie CO 34.80 16,963.98
P00000000734501078 Card 3990

9/27 Purchase authorized on 09/25 King Soopers #07 2395 W. 38.93

Broomfield CO P00381268445238824 Card 3990
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Transaction history (continued)

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
9/27 Purchase authorized on 09/25 Chick-Fil-A #03634 Westminster 15.40
CO $461269065778848 Card 3990
9/27 Purchase authorized on 09/26 Wal-Mart #0953 Loveland CO 32.75 16,876.90
P00000000675097560 Card 3990
9/28 Front Range Gun Payroll 210928 P6517798 Chee Wei Fong 381.26
9/28 Purchase authorized on 09/26 Tst* McGraff S Loveland CO 30.37 17,227.79
$38 1269861345782 Card 3990
9/29 Purchase authorized on 09/27 Raising Cane's #35 Broomfield CO 14.37 17,213.42
$581270827064059 Card 3990
9/30 Purchase authorized on 09/29 Bimbo Bakeries 910 Loveland CO 1.03
$30 1272725873457 Card 3990
9/30 Purchase authorized on 09/30 King Soop 1891 State H Erie CO 40.76
P00000000476882448 Card 3990
9/30 Interest Payment 0.19 17,171.82
17,171.82

Ending balance on 9/30

 

Totals $7,286.91 $14,315.20

The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your

transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.

Summary of checks written (checks listed are also displayed in the preceding Transaction history)

Number Date Amount Number Date Amount
111 9/22 4,114.00 112 9/22 5,865.20

Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for a

link to these documents, and answers to common monthly service fee questions.

 

Fee period 09/01/2021 - 09/30/2021 Standard monthly service fee $15.00 You paid $0.00
How to avoid the monthly service fee Minimum required This fee period
Have any ONE of the following account requirements
* Total amount of qualifying direct deposits $1,000.00 $7,286.72 [¥]
- A linked Wells Fargo home mortgage 1 on
+ Combined balance in linked accounts, which may include : $10,000.00 $16,876.90 [7]
- Minimum daily balance in personal checking, savings, Time Accounts (CDs) and
FDIC-insured Retirement accounts
JDND
We are updating the Deposit Account Agreement ("Agreement") dated May 28, 2021. Effective August 9, 2021, in the section of the
Agreement titled "Closing Accounts,” the subsection "Clasing your account if the balance is zero" is deleted and replaced with the
following:
Accounts with a zero balance will continue to be charged applicable fees (like the monthly service fee) until you request to close

your account. We may close an account (except analyzed business accounts) with a zero balance on the fee period ending date or at
month end without prior notification to you. Once an account is closed (either by you or us), no fees will be assessed on the account.
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- To prevent closure by us, an account with a zero balance must have a qualifying transaction posted within the last two months of the
most recent fee period ending date. IOLTA and RETA accounts require a qualifying transaction within ten months of the most recent
fee period ending date.

- Examples of qualifying transactions are deposits and withdrawals made at a branch, ATM, online, mobile, or via telephone; one-time
and recurring transfers made at a branch, ATM, online, mobile, or via telephone; automatic or electronic deposits, such as from payroll
or government benefits; automatic or electronic payments, including Bill Pay; one-time and recurring purchases or payments made
using a card or mobile device; and checks paid from the account. IOLTA and RETA accounts are not eligible for ATM cards or debit

cards.
- Bank-originated transactions, like monthly service or other fees, are not considered qualifying transactions that will prevent closure of

an account with a zero balance.

All other aspects of the Agreement remain the same. If there is a conflict between the updated language above and the Agreement,
the updated language will control. The most recent Deposit Account Agreement and related addenda are located online at
wellsfargo.com/online-banking/consumer-account-fees.

Other Wells Fargo Benefits

Effective December 1, 2021, there is no outgoing wire fee when customers send an outgoing international wire in foreign currency
using the Wells Fargo Mobile® app or Wells Fargo Online’. Otherwise, the outgoing international foreign currency wire fee is $35.

In addition to the transfer fee, Wells Fargo makes money when it converts one currency to another currency for you. For additional
information related to Wires and foreign currency, please see wellsfargo.com/online-banking/transfers/online-wires-terms-upcoming.

Can we reach you when it’s really important?

Don't miss suspicious-activity alerts and critical account information. Please make sure your contact information is current by:

- Signing on to wellsfargo.com or the Wells Fargo Mobile’ app and navigating to the Update Contact Information page via My Profile
- Contacting the phone number at the top of your statement

- Visiting a branch
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Worksheet to balance your account

Follow the steps below to reconcile your statement balance with your
account register balance. Be sure that your register shows any interest
paid into your account and any service charges, automatic payments or
ATM transactions withdrawn from your account during this statement

period.
[A] Enter the ending balance on this statement.

List outstanding deposits and other
credits to your account that do not appear on
this statement. Enter the total in the column
to the right.

       

Description Amount

    

Total |$

 

   

[¢] Add [A] and [B] to calculate the subtotal.

[D] List outstanding checks, withdrawals, and
other debits to your account that do not appear
on this statement. Enter the total in the column
to the right.

Number/Description Amount

Total | $

[E] Subtract [D] from [C] to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.

 

ae

 

General statement policies for Wells Fargo Bank

uw To dispute or report inaccuracies in information we have furnished to a
Consumer Reporting Agency about your accounts. You have the right to
dispute the accuracy of information that Wells Fargo Bank, N.A. has
furnished to a consumer reporting agency by writing to us at Overdraft
Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
describe the specific information that is inaccurate or in dispute and the
basis for the dispute along with supporting documentation. If you believe
the information furnished is the result of identity theft, please provide us
with an identity theft report.

a In case of errors or questions about your electronic transfers,
telephone us at the number printed on the front of this statement or write
us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear
from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

1. Teli us your name and account number (if any).

2. Describe the error or the transfer you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more
information.

3. Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If
we take more than 10 business days to do this, we will credit your account
for the amount you think is in error, so that you will have the use of the
money during the time it takes us to complete our investigation.

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